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                                   UNITED STATES DISTRICT COURT FOR THE
                                       SOUTHERN DISTRICT OF FLORIDA
                                            Ft. Lauderdale Division
                                          Case No.

        SOUTH BROWARD HOSPITAL
        DISTRICT d/b/a MEMORIAL
        HEALTHCARE SYSTEM,
                    Plaintiff,
        vs.
        BLUE CROSS AND BLUE
        SHIELD OF FLORIDA, INC.
        and HEALTH OPTIONS, INC.
                    Defendants.
                                                 /

                                      DEFENDANTS’ NOTICE OF REMOVAL

                    Defendants Blue Cross and Blue Shield of Florida, Inc. (“BCBSF”) and Health Options,

        Inc. (“HOI”) (BCBSF and HOI collectively, “Florida Blue”), pursuant to 28 U.S.C. §§ 1441, 1442,

        and 1446, remove this action from the Circuit Court of the Seventeenth Judicial Circuit in and for

        Broward County, Florida, to the Ft. Lauderdale Division of the United States District Court for the

        Southern District of Florida, and in support thereof, state:

                                               BASIS FOR REMOVAL

                    1.      Florida Blue removes this action under the federal officer removal statute, 28

        U.S.C. § 1442(a)(1), because Plaintiff sues Florida Blue in its capacity as a person acting under a

        federal officer or agency for or relating to acts taken under color of such office.1 Any remaining

        state law claims are within this Court’s supplemental jurisdiction.


        1
          In an effort to limit the removal of its claims, Memorial improperly split its claims into three separate
        actions: (1) Case No. 20-10731, the instant action, which alleges claims for services rendered to patients
        covered under Medicare Advantage plans governed by the Medicare Act; (2) Case No. 20-10727, which
        alleges claims for services rendered to patients covered under group health benefits plans governed by
        ERISA; and (3) Case No. 20-10729, which alleges claims for services rendered to patients covered under
        individual health insurance policies.


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                                        PROCEDURAL REQUIREMENTS

                    2.   On June 30, 2020, Plaintiff South Broward Hospital District d/b/a Memorial

        Healthcare System (“Memorial”) filed a complaint in the Circuit Court of the Seventeenth Judicial

        Circuit in and for Broward County, Florida, styled as South Broward Hospital District d/b/a

        Memorial Healthcare System v. Blue Cross and Blue Shield of Florida, Inc. and Health Options,

        Inc., Case No. 20-10731 (the “State Court Action”).

                    3.   HOI was served with a summons and the complaint on July 16, 2020. BCBSF was

        served with a summons and the complaint on July 31, 2020.2 Pursuant to 28 U.S.C. § 1446(b),

        Florida Blue timely files this notice of removal within 30 days after service of the summonses and

        complaints. See Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347-48 (1999)

        (holding the 30-day removal period is triggered by formal service); Harrell v. Bank of Am., N.A.,

        813 Fed. Appx. 397, 399 (11th Cir. 2020) (same); see also Bailey v. Janssen Pharmaceutica, Inc.,

        536 F.3d 1202, 1203 (11th Cir. 2008) (holding the removal period expires 30 days after service on

        the last-served defendant).

                    4.   Pursuant to 28 U.S.C. § 1446(a), attached as Composite Exhibit A (1-12) are

        copies of all process, pleadings, and orders served on Florida Blue or filed in the State Court Action

        as of the date of removal, except (i) Exhibit A to the complaint, the Hospital Services Agreement

        between HOI and Memorial (the “HOI Hospital Services Agreement”), (ii) Exhibit B to the

        complaint, the Medicare Advantage Amendment to the HOI Hospital Services Agreement (the

        “HOI Medicare Advantage Amendment”), (iii) Exhibit C to the complaint, the NetworkBlue



        2
          Under Florida law, the sole method of service of a civil action on a health insurance company, such as
        BCBSF, is by serving Florida’s Chief Financial Officer. See Fla. Stat. § 624.422; see also id. § 624.307(9).
        Service is effective upon the date the Chief Financial Officer makes the summons and complaint available
        to the health insurance company, “and the time for pleading prescribed by the rules of procedure [runs]
        from this date.” Fla. Stat. § 48.151(1).

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        Hospital Services Agreement between BCBSF and Memorial (the “BCBSF Hospital Services

        Agreement”), and (iv) Exhibit D to the complaint, the Medicare Advantage Amendment to the

        BCBSF Hospital Services Agreement (the “BCBSF Medicare Advantage Amendment”), each of

        which Memorial served but did not file in the State Court Action because they are governed by

        confidentiality provisions.3

                    5.    The United States District Court for the Southern District of Florida embraces the

        county in which the State Court Action is now pending and, thus, this Court is the proper forum

        for removal pursuant to 28 U.S.C. § 89(c) and 1441(a).

                    6.    Defendants BCBSF and HOI are the only defendants named in the State Court

        Action. Thus, all defendants join in the removal of the State Court Action.

                    7.    In accordance with 28 U.S.C. § 1446(d), a copy of this notice of removal is being

        served on Memorial and a copy also is being filed with the Clerk of the Circuit Court of the

        Seventeenth Judicial Circuit in and for Broward County, Florida.

                    8.    A filing fee of $400.00 is being tendered to the Clerk of the United States District

        Court for the Southern District of Florida.

                                              STATE COURT ACTION

                    9.    In the State Court Action, Memorial alleges Florida Blue improperly denied and

        underpaid claims for covered medical services rendered by Memorial to Medicare beneficiaries

        covered under Florida Blue’s Medicare Advantage plans. See Compl. ¶ 1.

                    10.   Memorial is a special tax district healthcare system. See id. ¶ 2.

                    11.   BCBSF is a health insurance company. See id. ¶ 3.



        3
         Pursuant to Local Rule 5.4, Florida Blue will promptly move the Court to authorize the parties to file
        under seal the HOI Hospital Services Agreement, the HOI Medicare Advantage Amendment, the BCBSF
        Hospital Services Agreement, and BCBSF Medicare Advantage Amendment.

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                    12.   HOI is a health maintenance organization (“HMO”). See id. ¶ 4.

                    13.   Florida Blue is a Medicare Advantage Organization (“MAO”) that has entered into

        contracts with the Centers for Medicare and Medicaid Services (“CMS”) to administer Medicare

        benefits under Title XVIII, Part C, of the Social Security Act. See id. ¶¶ 5, 11.

                    14.   Memorial and Florida Blue have entered into the HOI Hospital Services Agreement

        and the BCBSF Hospital Services Agreement (collectively, the “Hospital Services Agreements”)

        and the HOI Medicare Advantage Amendment and the BCBSF Medicare Advantage Amendment

        (collectively, the “Medicare Advantage Amendments”) (the Hospital Services Agreements and the

        Medicare Advantage Amendments are collectively the “Provider Agreements”) governing

        Memorial’s provision of covered services to Medicare beneficiaries covered under Florida Blue’s

        Medicare Advantage plans. See id. ¶¶ 16-18, 26-28, 36, 44, 52, 62, Exs. A-D. In the healthcare

        industry, Memorial is referred to as a “participating provider.”

                    15.   Memorial asserts claims for services Memorial rendered as a participating provider

        “pursuant to [Florida Blue’s] Medicare Advantage plans” to patients covered under Florida Blue’s

        Medicare Advantage plans. See id. ¶¶ 1, 31-34.

                    16.   Memorial alleges there are “thousands” of claims in dispute. See id. ¶ 31.

                    17.   Count 1 purports to allege a cause of action against HOI for breach of the HOI

        Hospital Services Agreement and the HOI Medicare Advantage Amendment. See id. ¶¶ 35-42.

        Count 2 purports to allege a cause of action against BCBSF for breach of the BCBSF Hospital

        Services Agreement and the BCBSF Medicare Advantage Amendment. See id. ¶¶ 43-50. Counts

        3 and 4 purport to allege causes of action against HOI and BCBSF for breach of the implied

        covenant of good faith and fair dealing under the Provider Agreements. See id. ¶¶ 51-70.




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                    18.   In Counts 1 and 2, Memorial alleges: (i) Florida Blue is obligated to pay Memorial

        for “covered services” rendered to Medicare beneficiaries covered under Florida Blue’s Medicare

        Advantage plans in the amounts agreed to in the Medicare Advantage Amendments; (ii) Memorial

        rendered services to Medicare beneficiaries “covered” under Florida Blue’s Medicare Advantage

        plans; and (iii) Florida Blue breached the Medicare Advantage Amendments by “engag[ing] in a

        pattern and practice of improper claims processing practices.” See id. ¶¶ 37-40, 45-48.

                    19.   According to Memorial, the “improper claims processing practices” include:

        (a) “denying payment and underpaying Memorial for covered services”; (b) “recovering contested

        overpayments”; (c) “failing to respond to Memorial’s requests for authorization to perform

        medically necessary covered services”; (d) “failing to pay for medically necessary covered

        services that were appealed”; (e) “pending the processing and payment of claims and appeals”;

        and (f) “engaging in otherwise [unidentified] abusive and unduly burdensome claims processing

        practices.” See id. ¶¶ 40, 48.

                    20.   In Counts 3 and 4, Memorial alleges: (i) the Provider Agreements incorporate

        Florida Blue’s “claim processing policies and procedures” and “provider manual”; (ii) Florida

        Blue “has discretion to change or modify” the policies, procedures, and manual “subject to certain

        limitations” in the Provider Agreements; (iii) Memorial “reasonably relied” that Florida Blue

        would “pay and process claims” in accordance with Section 3 of the Medicare Advantage

        Amendments; and (iv) Florida Blue “unfairly frustrated the agreed-upon purpose” of the Medicare

        Advantage Agreements. See id. ¶¶ 53, 55, 58, 63, 65, 68.

                    21.   Memorial alleges Florida Blue “violat[ed] Memorial’s reasonable commercial

        expectation” by: (a) failing to pay claims in accordance with the Provider Agreements; (b) using

        “unreasonable and/or illegal claims processing practices”; (c) unilaterally modifying “claims



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        processing policies and practices in an arbitrary or unreasonably [sic] manner”; and (d) “imposing

        unreasonable utilization review and medical necessity criteria.” See id. ¶¶ 56-57, 66-67.

                                     MEDICARE ADVANTAGE PROGRAM

                    22.   The Medicare Act, 42 U.S.C. § 1395 et seq., enacted in 1965, established a federally

        subsidized health insurance program primarily benefiting the elderly and disabled persons. See

        Heckler v. Ringer, 466 U.S. 602, 605 (1984). When it was enacted, Medicare consisted of two

        parts, Part A covering inpatient services, and Part B covering outpatient services. Under Parts A

        and B, the federal government pays health care providers directly for covered services rendered to

        Medicare beneficiaries. See 42 U.S.C. §§ 1395c-1395i-5, 1395j-1395w-6.

                    23.   The Medicare Act is administered by the Secretary of the Department of Health and

        Human Services (“HHS”), which has delegated this responsibility to CMS.

                    24.   In 1997, Congress enacted Part C, now known as “Medicare Advantage,” to provide

        an alternative program for Medicare beneficiaries to receive Medicare benefits through private

        Medicare Advantage plans. See 42 U.S.C. § 1395w-21-22.

                    25.   Congress enacted Part C to expand the number and type of plans available to

        Medicare beneficiaries, improve access to quality healthcare services, and reduce costs by

        introducing competition and taking advantage of cost-reduction and risk-shifting measures used

        by private insurance companies. See In re Avandia Mktg. Sales Practices & Prods. Liab. Litig.,

        685 F.3d 353, 363 (3d Cir. 2012).

                    26.   To administer Part C, CMS enters into contracts with private insurance companies,

        such as Florida Blue, referred to as “Medicare Advantage Organizations” or “MAOs.” See 42

        U.S.C. § 1395w-27; 42 C.F.R. §§ 422.503, 422.504.




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                    27.     The contracts between CMS and MAOs “shall provide that the [MAO] agrees to

        comply with the applicable requirements and standards of [Part C] and the terms and conditions

        of payment as provided for in [Part C].” 42 U.S.C. § 1395w-27(a).

                    28.     CMS makes monthly per-beneficiary payments to MAOs, which then take on the

        financial risk of serving Medicare beneficiaries. See 42 U.S.C. §§ 1395w-23, 1395w-25(b).

                    29.     MAOs are subject to extensive federal regulation. See 42 C.F.R. §§ 422.1-

        422.2615;         see   also   CMS    Medicare   Managed     Care   Manual,    Pub.   No.   100-16,

        https://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/Internet-Only-Manuals-

        IOMs-Items/CMS019326 (last visited August 17, 2020).

                    30.     MAOs must offer the same basic Medicare benefits available under Parts A and B.

        See 42 U.S.C. § 1395w-22(a)(1)(A); 42 C.F.R. § 422.100(a). MAOs also may offer certain

        supplemental benefits approved by CMS. See 42 C.F.R. § 422.100(c), (f).

                    31.     The Medicare Act generally precludes coverage for medical services that “are not

        reasonable and necessary for the diagnosis or treatment of illness or injury.” See 42 U.S.C.

        § 1395y(a)(1)(A).

                    32.     MAOs determine whether services are covered under Parts A and B of the Medicare

        Act. See 42 U.S.C. § 1395w-22(g)(1)(A).

                    33.     In making coverage decisions, MAOs must comply with CMS’s national coverage

        determinations, general coverage guidelines in Medicare manuals and instructions, and written

        coverage determinations of local Medicare contractors. See 42 C.F.R. § 422.101.

                    34.     The Medicare Act includes a mandatory administrative appeal process for coverage

        determinations. See 42 U.S.C. §§ 405, 1395w-22(g), 1395ff, 1395ii.




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                    35.   MAO coverage determinations are subject to multiple levels of administrative

        review, including reconsideration by the MAO, reconsideration by an independent entity, hearing

        before an administrative law judge, and review by the Medicare Appeals Council. See 42 C.F.R.

        §§ 422.562, 422.578, 422.592, 422.600, 422.608.

                    36.   CMS also prescribes requirements for relationships with participating providers,

        see 42 U.S.C. § 422.200-.224, and the provision of emergency services, see 42 U.S.C. § 422.113.

                                  FLORIDA BLUE’S CONTRACTS WITH CMS

                    37.   Florida Blue has contracts with CMS to administer Medicare benefits to Medicare

        beneficiaries pursuant to Medicare Advantage plans under Part C of the Medicare Act. See

        Declaration of Amanda Iacovella (“Iacovella Declaration”) ¶ 3 (attached as Exhibit B).

                    38.   Attached as Composite Exhibits 1 and 2 to the Iacovella Declaration are Florida

        Blue’s contracts with CMS (the “CMS Contracts”). See id. ¶¶ 4-6.

                    39.   Under the CMS Contracts, Florida Blue “agrees to operate one or more [Medicare

        Advantage plans] . . . in compliance with the requirements of [the CMS Contracts] and applicable

        Federal statutes, regulations, and policies.” See CMS Contracts, Art. II, § A.

                    40.   Florida Blue “agrees to provide enrollees in each of its [Medicare Advantage] plans

        the basic benefits as required under 42 C.F.R. § 422.101 and, to the extent applicable, supplemental

        benefits under 42 C.F.R. § 422.102.” See id., Art. III, § A(1).

                    41.   Florida Blue “agrees to comply with all requirements in 42 C.F.R. Part 422, Subpart

        M governing coverage determinations, grievances, and appeals.” See id., Art. III, § C(1).

                    42.   Florida Blue’s utilization policies and procedures “must reflect current standards of

        medical practice in processing requests for initial or continued authorization of services” including

        mechanisms to evaluate underutilization and overutilization. See id., Art. III, § E(4).



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                    43.   The CMS Contracts also subject Florida Blue to comprehensive recordkeeping and

        reporting requirements. See id., Art. VI.

                               THE MEDICARE ADVANTAGE AMENDMENTS

                    44.   In the Medicare Advantage Amendments, the parties “agree to comply with the

        Medicare Advantage contracting requirements established pursuant to federal regulation and/or

        CMS” and “acknowledge that CMS requires that [MAOs], and the persons and entities with which

        they contract, comply with certain requirements and include certain contractual provisions in

        contracts relating to the provision of items and services under the Medicare Advantage Program.”

        See Medicare Advantage Amendments, § 2, Ex. 1.

                    45.   “The Parties acknowledge and agree that [Florida Blue] shall oversee, and

        ultimately remain responsible and accountable to CMS for, those functions and responsibilities

        required of [Florida Blue] pursuant to all Laws [including] federal statutes, rules and regulations[,]

        . . . legally binding CMS orders, decrees, and instructions[,] . . . or requirements of governmental

        entities having jurisdiction over the execution, delivery, or performance of this Medicare

        Advantage Amendment.” See id. at Ex. 1, §§ 2, 1(d).

                    46.   Memorial “agrees to comply with and be subject to all applicable Medicare

        program laws, rules and regulations, reporting requirements, and CMS instructions as

        implemented and amended by CMS.” See id. at Ex. 1, § 4(b).

                    47.   Memorial also agrees to “perform all Covered Services in a manner consistent with

        and in compliance with . . . all applicable Laws, including . . . laws, regulations and CMS

        instructions relating to the Program; [Florida Blue’s] contract(s) with CMS; and conditions of

        federal program participation.” See id. at Ex. 1, § 12.




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                    48.   The Medicare Advantage Amendments prescribe compensation only for services

        that are “covered under the applicable [Medicare Advantage plan].” See id. § 3; see also id. at Ex.

        1, § 8; Ex. 2, Appx. 1 and 2.

                    49.   Memorial “agrees to hold all Medicare Advantage Members harmless and prevent

        such Medicare Advantage Members from incurring financial liabilities for payment of fees that

        are the legal obligation of [Florida Blue] and shall accept [Florida Blue’s] payment as payment in

        full, less any co-insurance, co-payments or deductibles” and “agrees not to bill, charge, collect a

        deposit from, or receive or demand other compensation or remuneration from a Medicare

        Advantage Member” including in the event of “nonpayment by [Florida Blue]” and “breach of

        agreement by [Florida Blue].” See id. at Ex. 1, § 5(a).

                    50.   Memorial also “agrees to participate in and cooperate fully with [Florida Blue’s]

        policies and procedures established pursuant to federal requirements and as required by CMS for

        grievances and appeals for Medicare Members.” See id. at Ex. 1, § 10.

                    51.   “To the extent that any provision of [the Medicare Advantage Amendments]

        conflicts with the provisions of applicable Law, regulations, CMS instructions, or conditions of

        federal program participation, the provisions of such applicable Laws, regulations, CMS

        instructions or conditions of federal program participation shall govern.” See id. at Ex. 1, § 12.

                             FLORIDA BLUE’S MEDICARE ADVANTAGE PLANS

                    52.   Attached as Exhibit 3 to the Iacovella Declaration is a Medicare Advantage plan

        offered by HOI in 2016 (the “2016 HOI Medicare Advantage Plan”). See Iacovella Declaration

        ¶¶ 7-8. Attached as Exhibit 4 to the Iacovella Declaration is a Medicare Advantage plan offered

        by BCBSF in 2018 (the “2018 BCBSF Medicare Advantage Plan”). See id. ¶¶ 7, 9.




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                    53.   The 2016 HOI Medicare Advantage Plan and the 2018 BCBSF Medicare

        Advantage Plan are representative of Florida Blue’s Medicare Advantage plans offered to

        Medicare beneficiaries since 2015. See id. ¶ 10.

                    54.   The 2016 HOI Medicare Advantage Plan and the 2018 BCBSF Medicare

        Advantage Plan define “covered services” as “the medical care, health care services, supplies, and

        equipment that are covered by our plan.” See 2016 HOI Medicare Advantage Plan at 39; 2018

        BCBSF Medicare Advantage Plan at 46. The plans “must cover all services covered by Original

        Medicare and must follow Original Medicare’s coverage rules.”           See 2016 HOI Medicare

        Advantage Plan at 39; 2018 BCBSF Medicare Advantage Plan at 46. To be covered, services

        must be: (i) “medically necessary,” defined as services that are “needed for the prevention,

        diagnosis, or treatment of your medical condition” and “meet accepted standards of medical

        practice”; (ii) “provided according to the coverage guidelines established by Medicare”; and

        (iii) for certain hospital services, “only if . . . approv[ed] in advance.” See 2016 HOI Medicare

        Advantage Plan at 57, 70, 78; 2018 BCBSF Medicare Advantage Plan at 61, 78, 86. Excluded

        services include: (i) services “considered not reasonable and necessary, according to the standards

        of Original Medicare”; (ii) “experimental” services “determined by our plan and Original

        Medicare to not be generally accepted by the medical community”; and (iii) certain cosmetic

        surgeries and procedures. See 2016 HOI Medicare Advantage Plan at 94-95; 2018 BCBSF

        Medicare Advantage Plan at 105-06.

                                      MEDICARE ADVANTAGE CLAIMS

                    55.   Since June 30, 2015, Florida Blue has denied claims submitted by Memorial for

        lack of coverage under Florida Blue’s Medicare Advantage plans. See Iacovella Declaration

        ¶¶ 11-12. Because Memorial’s complaint does not limit the denials it challenges, Memorial

        necessarily alleges Florida Blue denied these and the exemplar claims identified below. See

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        Borrero v. United Healthcare of N.Y., Inc., 610 F.3d 1296, 1304 (11th Cir. 2010) (“Because their

        complaints contest the global practices of United and do not identify any specific patient, we must

        assume that the providers are asserting at least some derivative claims.”).

                    56.   Attached as Composite Exhibit 5 to the Iacovella Declaration is an exemplar claim

        submitted by Memorial and corresponding remittance advice4 denying the claim for lack of

        coverage under the 2016 HOI Medicare Advantage Plan. See Iacovella Declaration ¶ 13. As

        reflected in the remittance advice, HOI denied one claim line for lack of authorization and two

        claim lines because those services are inclusive of the services for which there was no

        authorization. See id.

                    57.   Attached as Composite Exhibit 6 to the Iacovella Declaration is an exemplar claim

        submitted by Memorial and corresponding remittance advice denying the claim for lack of

        coverage under the 2018 BCSBF Medicare Advantage Plan. See id. ¶ 14. As reflected in the

        remittance advice, BCBSF denied this claim due to coverage restrictions in the 2018 BCBSF

        Medicare Advantage Plan. See id.

                                         FEDERAL OFFICER REMOVAL

                    58.   The federal officer removal statute, 28 U.S.C. § 1442(a)(1), authorizes the removal

        of any action against the “United States or any agency thereof or any officer (or person acting

        under that officer) of the United States or of any agency thereof, in an official or individual

        capacity, for or relating to any act under color of such office.” (Emphasis added.)

                    59.   The Supreme Court instructs that the words “acting under” are “broad” and must

        be “liberally construed.” Watson v. Philip Morris Companies, Inc., 551 U.S. 142, 147 (2007)




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         All patient-identifying information in exemplar documents has been redacted in compliance with the
        Health Insurance Portability and Accountability Act.

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        (citation omitted); see also McMahon v. Presidential Airways, Inc., 410 F. Supp. 2d 1189, 1196

        (M.D. Fla. 2006) (federal officer removal statute is “not narrow” or “limited”).

                    60.   Unlike the usual presumption against removal, the right of removal under the

        federal office removal statute “is made absolute whenever a suit in state court is for any act ‘under

        color’ of federal office.” Magnin v. Teledyne Cont’l Motors, 91 F.3d 1424, 1427 (11th Cir. 1996)

        (citations omitted).

                    61.   For a private party to invoke the federal officer removal statute, the party must

        plead: (a) the party is a person; (b) the party acted under the direction of a federal officer or agency;

        (c) there is a causal connection between the federal direction and the conduct in question; and

        (d) the party has a colorable federal defense. See, e.g., Baptist Hosp. of Miami, Inc. v. Medica

        Healthcare Plans, Inc., No. 18-cv-25460, 2019 WL 1915386, at *1 (S.D. Fla. Mar. 21, 2019);

        Assocs. Rehab. Recovery, Inc. v. Humana Med. Plan, Inc., 76 F. Supp. 3d 1388, 1391 (S.D. Fla.

        2014); Einhorn v. Careplus Health Plans, Inc., 43 F. Supp. 3d 1268, 1269-70 (S.D. Fla. 2014).

                                           a.     Florida Blue is a “Person”

                    62.   A corporation is a “person” for purposes of the federal officer removal statute. See

        Assocs. Rehab. Recovery, Inc., 76 F. Supp. 3d at 1391 (citing 1 U.S.C. § 1); see also Hepstall v.

        Humana Health Plan, Inc., No. 18-0163, 2018 WL 4677871, at *2 (S.D. Ala. July 3, 2018).

                                      b.        Florida Blue “Acts Under” CMS

                    63.   MAOs act under the direction of CMS when denying claims of participating

        providers for lack of coverage under the Medicare Act or a Medicare Advantage plan. See Baptist

        Hosp. of Miami, Inc., 2019 WL 1915386, at *25 (“[C]overage disputes invoke the Federal Officer



        5
         In Baptist Hospital of Miami, the participating provider alleged the MAO determined services were “not
        medically necessary or covered under the Medicare Act or the patient’s [Medicare Advantage] plan.”
        Baptist Hosp. of Miami, Inc., 2019 WL 1915386, at *1.

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        Removal Statute because in determining whether Medicare provides coverage, the MAO is

        interpreting and applying the Medicare rules and regulations pursuant to authority delegated to it

        by CMS. . . . Accordingly, at issue are Defendant’s interpretations and applications of Medicare

        guidelines and manuals. In issuing denials based on those guidelines, Defendant was ‘acting

        under’ the authority of CMS, which delegated to Defendant the authority to make those denials

        pursuant to certain criteria.”); Assocs. Rehab. Recovery, Inc., 76 F. Supp. 3d at 13916 (“Defendant

        contracted with CMS to administer Medicare benefits on behalf of the federal government for

        Medicare enrollees in the Medicare Advantage plans offered by Defendant. . . . Defendant operates

        pursuant to this contract and pursuant to comprehensive regulations promulgated by CMS.”); see

        also Body & Mind Acupuncture v. Humana Health Plan, Inc., No. 1:16CV211, 2017 WL 653270,

        at *5 (N.D. W. Va. Feb. 16, 2017) (collecting cases); Beaumont Foot Specialists, Inc. v. United

        Healthcare of Tex., Inc., No. 1:15-cv-216, 2015 WL 9257026, at *4 (E.D. Tex. Dec. 14, 2015).

                    64.   Similarly, MAOs act under the direction of CMS when denying claims of Medicare

        beneficiaries for lack of coverage under the Medicare Act or a Medicare Advantage plan. See

        Hepstall, 2018 WL 4677871, at*5 (“Having closely examined the cases which have determined

        the issue, this Court agrees . . . that MAOs . . . are acting under the CMS when providing Medicare

        benefits to beneficiaries of the Act.”); see also Inchauspe v. Scan Health Plan, No. 2:17-cv-06011,

        2018 WL 566790, at *5 (C.D. Cal. Jan. 23, 2018) (“The Court agrees with the majority of district

        courts which have held that MAOs administering Part C benefits fall within the category of highly

        regulated private contractors described in Watson.”).




        6
         In Associates Rehabilitation Recovery, the participating provider alleged the MAO determined services
        were “not covered under the Medicare Act or the enrollee’s Medicare Advantage plan.” Assocs. Rehab.
        Recovery, Inc., 76 F. Supp. 3d at 1390.

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                    65.   In the complaint, Memorial alleges, among other things, that: (1) Florida Blue

        improperly denied claims, “den[ied] payment . . . for covered services,” and “fail[ed] to pay for

        medically necessary covered services” rendered to Medicare beneficiaries covered under Medicare

        Advantage plans, including by employing “unreasonable utilization review and medical necessity

        criteria,” see Compl. ¶¶ 1, 40(a), 40(d), 48(a), 48(d), 56(b)-(c), 57, 66(b)-(c), 67; (2) Florida Blue

        recouped overpayments due to lack of coverage under Medicare Advantage plans, see id. ¶¶ 1,

        40(b), 48(b); and (3) Florida Blue denied coverage under Medicare Advantage plans by failing to

        authorize “medically necessary covered services,” see id. ¶¶ 1, 40(c), 48(c).

                    66.   Memorial expressly challenges denial of coverage, recoupments based upon lack

        of coverage, and denial of authorization under the Medicare Act and Medicare Advantage plans.

                    67.   The Medicare Act requires Florida Blue to cover all services under Parts A and B,

        generally limits coverage to “reasonable and necessary” services, establishes criteria for Medicare

        coverage determinations, and provides for mandatory administrative review of MAO decisions

        denying coverage under Medicare Advantage plans.

                    68.   In performing the acts challenged by Memorial, CMS exercises unusually close,

        direct, and detailed control over Florida Blue through the CMS Contracts, regulations, manuals,

        the annual bid process, the Medicare appeals process, audits, and other program directives.

                    69.   In sum, CMS has delegated to Florida Blue legal authority to administer Medicare

        benefits for Medicare beneficiaries covered under Medicare Advantage plans. Florida Blue assists

        the federal government to carry-out and fulfill a basic and necessary governmental function—

        providing Medicare benefits to Medicare beneficiaries. In the absence of Medicare Advantage

        plans, the federal government would have to perform this function itself by administering

        Medicare benefits to these Medicare beneficiaries under Parts A and B of the Medicare Act.



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                    70.   Thus, for purposes of the federal officer removal statute, Florida Blue “acts under”

        the direction, guidance, and control of CMS.

                              c.        There is a Causal Connection to CMS’ Direction

                    71.   The Removal Clarification Act of 2011 added “or relating to” in the requirement

        that the act complained of be “for or relating to any act under color of office.”

                    72.   This is a “low standard;” indeed, the acts challenged need not even be the action

        under federal direction or control. See Body & Mind Acupuncture, 2017 WL 653270, at *6.

                    73.   A causal nexus exists here because, but for Florida Blue’s contract with CMS to

        administer Medicare benefits, Florida Blue would not have administered Memorial’s claims, and

        Memorial would have no grounds to assert a cause of action against Florida Blue.

                    74.   A causal nexus also exists here because Memorial challenges denial of coverage

        for services rendered to Medicare beneficiaries under Medicare Advantage plans. See Assocs.

        Rehab. Recovery, Inc., 76 F. Supp. 3d at 1391 (“Plaintiff’s claims concern Defendant’s denial of

        payments, payments which it denied pursuant to its authority and obligations under federal law.”);

        see also Body & Mind Acupuncture, 2017 WL 653270, at *6 (“Whether Humana properly paid

        Body & Mind or used CMS mandated procedure codes, those acts took place because of or in the

        course of performing what it was asked to do by the government—pay healthcare providers for

        services rendered to beneficiaries of its MA plans.”) (internal quotation marks omitted); Hepstall,

        2018 WL 4677871, at *5 (“Plaintiff’s claims are, in part, based upon Humana’s alleged refusal to

        pay for benefits that it was contractually obligated to provide. Because his claims are intertwined

        with Humana’s obligations pursuant to regulations that govern its role in administering Part C

        Medicare claims, the Court finds that the causal nexus requirement has been met.”).

                                   d.    Florida Blue has Colorable Federal Defenses

                    75.   Florida Blue has the colorable defense of federal preemption.

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                    76.   Part C of the Medicare Act contains an express preemption provision: “The

        standards established under [Part C] shall supersede any State law or regulation (other than State

        licensing laws or State laws relating to plan solvency) with respect to [Medicare Advantage] plans

        which are offered by [MAOs] under this part.” 42 U.S.C. § 1395w-26(b)(3).

                    77.   To the extent Memorial challenges coverage decisions governed by the Medicare

        Act, Florida Blue has the colorable federal defense of express or conflict preemption. See Einhorn,

        43 F. Supp. 3d at 1270 (removing party had the colorable federal defense of preemption because

        “[t]he extent to which federal law imposes certain requirements upon [defendant] as a Medicare

        Advantage plan and whether it may afford it any corresponding protection from liability, are issues

        of federal law”) (internal quotations and citations omitted); see also Hepstall, 2018 WL 4677871,

        at *6 (removing party had the colorable federal defense of preemption); Assocs. Rehab. Recovery,

        Inc., 76 F. Supp. 3d at 1391-93 (same).

                    78.   Florida Blue also has the colorable federal defense of failure to exhaust

        administrative remedies.

                    79.   Like a Medicare beneficiary, a participating provider challenging a coverage

        decision must exhaust administrative remedies before challenging coverage decisions in federal

        court. See Assocs. Rehab. Recovery, Inc., 76 F. Supp. 3d at 1393 (MAO had a colorable federal

        defense of failure to exhaust administrative remedies as the participating provider’s claims were

        inextricably intertwined with a claim for reimbursement under the Medicare Act because, “under

        its contract with CMS, Humana may pay Medicare benefits only for medically necessary services,”

        and under the provider agreement, Humana agreed to pay only for “covered services,” which were

        dependent upon the Medicare Advantage plans); see also Body & Mind Acupuncture, 2017 WL

        653270, at *4 (holding participating provider raised colorable federal defense of failure to exhaust



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        administrative remedies in dispute over recoupment due to improper billing); United Behavioral

        Health v. Maricopa Integrated Health Sys., 240 Ariz. 118, 123 (Ariz. 2016) (“Resolution turns on

        whether UBH correctly applied Medicare standards to determine that continued in-patient care for

        the [Medicare Advantage] Plan Members was not covered—a matter inextricably intertwined with

        a claim for benefits and falling within HHS’s expertise.”); Ex parte Blue Cross & Blue Shield of

        Ala., 90 So. 3d 158, 164 (Ala. 2012) (“Although framed in terms of a contractual dispute between

        BCBS and Southern Springs, Southern Springs’ claim is, at bottom, a claim that the [Medicare

        Advantage plan] enrollees are being denied coverage and/or benefits to which they are entitled

        under the Medicare Act.”).

                    80.   Memorial’s allegation that, under CMS Pub. 100-16, Medicare Managed Care

        Manual, Chapter 12 § 70.1, “contract providers have no remedy other than a common law claim

        for breach of contract to receive payment due to them under their contract with the MAOs,” see

        Compl. ¶ 14, is an erroneous conclusion of law. See United Behavioral Health, 240 Ariz. At 125

        (holding the manual “conflict[s] with the regulations if the payment dispute concerns an

        organization determination regarding coverage”).

                    81.   Indeed, in the Medicare Advantage Amendments, Memorial “agrees to participate

        in . . . [Florida Blue’s] policies and procedures . . . required by CMS for grievances and appeals

        for Medicare Members.” See Medicare Advantage Amendments, Ex. 1, § 10.

                    82.   Here, Memorial’s claims challenging denials of coverage are inextricably

        intertwined with claims for reimbursement of Medicare benefits.

                    83.   Indeed, Memorial’s alleged harm could be completely remedied by retroactive

        payment of Medicare benefits.




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                    84.   In the complaint, Memorial does not specifically allege it exhausted all available

        administrative remedies with respect to each claim it asserts.

                                        SUPPLEMENTAL JURISDICTION

                    85.   Pursuant to 28 U.S.C. §§ 1367(a) and 1441(c), this Court has supplemental

        jurisdiction over any remaining state law claims, because those claims are so related to the claims

        within the original jurisdiction of the Court that they form part of the same case or controversy

        under Article III of the United States Constitution.

                    86.   Memorial alleges the same theories of liability with respect to all of its claims.

                    87.   The Court has supplemental jurisdiction over any underpayment claims. See

        Baptist Hosp. of Miami, Inc., 2019 WL 1915386 at *2 n.2.

                    88.   None of the potential state law claims—common law claims for breach of contract

        and breach of the implied covenant of good faith and fair dealing—raise novel or complex issues

        of state law. See 28 U.S.C. § 1367(c)(1).

                    89.   Because Memorial appears to assert more Medicare coverage claims than

        underpayment claims, state law claims do not predominate. See 28 U.S.C. § 1367(c)(2).

                    90.   As of the filing of this notice of removal, the Court has not dismissed all federal

        claims. See 28 U.S.C. § 1367(c)(3).

                    91.   There are no “exceptional circumstances” or “compelling reasons” to decline

        supplemental jurisdiction. See 28 U.S.C. § 1367(c)(4).

                                                    CONCLUSION

                    WHEREFORE, Defendants Blue Cross and Blue Shield of Florida, Inc. and Health

        Options, Inc. respectfully submit this notice of removal and request that the Court grant them such

        other and further relief as the Court deems just and proper.



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